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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE


BRISTOL-MYERS SQUIBB CO.,                 )
E. R. SQUIBB & SONS L.L.C.,               )
ONO PHARMACEUTICALS CO., LTD., and        )
TASUKU HONJO,                             )
                                          )
       Plaintiffs,                        )                   C.A. No. 17-cv-1029-CFC
                                          )
v.                                        )
                                          )
EMD SERONO, INC., MERCK KGaA, and         )
PFIZER INC.                               )
                                          )
       Defendants.                        )
__________________________________________)
PFIZER INC., WYETH LLC, GENETICS          )
INSTITUTE, LLC, EMD SERONO, INC.,         )
and MERCK KGaA, and                       )
                                          )
       Counterclaim Plaintiffs,           )
                                          )
v.                                        )
                                          )
BRISTOL-MYERS SQUIBB CO.,                 )
E. R. SQUIBB & SONS L.L.C.,               )
ONO PHARMACEUTICALS CO., LTD., and        )
TASUKU HONJO,                             )
                                          )
                                          )
       Counterclaim Defendants.           )
__________________________________________)

                                STIPULATION OF DISMISSAL

       Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii), the parties hereby agree and stipulate to the

dismissal of all claims, including counterclaims, in this action, with prejudice, as the case has

been settled with each party bearing its own attorneys’ fees, costs, and expenses.
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Dated: February 6, 2019                            Respectfully Submitted,

FARNAN LLP                                         MORRIS, NICHOLS, ARSHT, &
                                                   TUNNELL LLP

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mfarnan@farnanlaw.com                              Pfizer Inc., Wyeth LLC and Genetics Institute,
                                                   LLC
Counsel for Plaintiffs Bristol-Myers Squibb
Co., E. R. Squibb & Sons L.L.C., Ono
Pharmaceutical Co., Ltd., and Tasuku Honjo




IT IS SO ORDERED this ______ day of February, 2019.


                                              ______________________________________
                                              The Honorable Colm F. Connolly




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